             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                  No. COA14-1136

                                 Filed: 19 May 2015

Mecklenburg County, No. 14-CVD-9222
STIKELEATHER REALTY &amp; INVESTMENTS CO., Plaintiff-Appellant,

             v.

ELISHA BROADWAY, Defendant-Appellee.


      Appeal by plaintiff from judgment entered 18 July 2014 by Judge Matt Osman

in Mecklenburg County District Court. Heard in the Court of Appeals 18 March 2015.

      Law Offices of James W. Surane, PLLC, by Ross S. Sohm, for plaintiff-
      appellant.

      No brief filed on behalf of defendant-appellee.

      HUNTER, JR., Robert N., Judge.

      Stikeleather Realty &amp; Investments Co. (“Plaintiff-Landlord”) appeals from a

bench trial judgment awarding trebled rent abatement and attorney’s fees to Elisha

Broadway (“Defendant-Tenant”) on claims of breach of the implied warranty of

habitability and unfair and deceptive trade practices. We reverse.

                         I. Factual &amp; Procedural History

      On 19 March 2014, Plaintiff-Landlord initiated a summary ejectment action

against Defendant-Tenant for breach of a residential lease agreement for failure to

pay rent for the month of March. On 31 March 2014, Defendant-Tenant filed an

answer and asserted the defense of retaliatory eviction pursuant to N.C. Gen. Stat. §

42-37.1, as well as counterclaims for (1) breach of the implied warranty of habitability
             STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                   Opinion of the Court



pursuant to N.C. Gen. Stat. § 42-42, (2) unfair and deceptive trade practices pursuant

to N.C. Gen. Stat. § 75-1.1 et seq., (3) unfair debt collection practices pursuant to N.C.

Gen. Stat. § 75-50 et seq., (4) negligence, and (5) negligence per se.

      On 22 April 2014, Plaintiff-Landlord filed an amended complaint, alleging

Defendant-Tenant also breached the lease by keeping an unauthorized pet. On 2

May 2014, Defendant-Tenant filed an amended answer and counterclaim, which

contained no substantive changes pertinent to this appeal. On 8 May 2014, the

magistrate entered judgment in favor of Plaintiff-Landlord on the primary claim of

possession and in favor of Defendant-Tenant on his counterclaim of breach of the

implied warranty of habitability only, awarding him $1,000.00 in damages. Plaintiff

appealed to the district court.

      On 30 June 2014, the case was heard in Mecklenburg County District Court

before the Honorable Matt Osman. At that time, Defendant-Tenant had already

surrendered possession of the property. Therefore, the sole issue before the trial

judge was Defendant-Tenant’s counterclaim for breach of the implied warranty of

habitability. The transcript of this bench trial, as well as the record on appeal, reveals

the following pertinent facts.

      In May 2010, Defendant-Tenant entered into a residential lease to rent a home

located at 2600 Catalina Avenue in Charlotte (“the property”) for $500 per month. At

this time, the property was neither owned nor managed by Plaintiff-Landlord. The



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                                       Opinion of the Court



lease contained a page signed by Defendant-Tenant stating that a “Carbon/Smoke

Detector”   1   existed in the home and that it was in good working condition when

Defendant-Tenant took possession of the property. The lease also provided that

Defendant-Tenant shall make requests for repairs in writing.

       On 4 June 2013, Mr. Kluth, a real estate broker, visited the property to obtain

general information to list the house. On 10 June 2013, Mr. Kluth returned to the

property for another inspection, this time bringing an interested buyer, Mr.

Stikeleather, managing partner of Plaintiff-Landlord, a limited liability corporation

in the business of buying and selling residential properties.

       During this second pre-sale inspection, Mr. Stikeleather asked Defendant-

Tenant if the property had a smoke alarm and carbon monoxide alarm. Defendant-

Tenant responded that it did not. Mr. Kluth then went to his truck and returned

with a smoke alarm and carbon monoxide alarm for Defendant-Tenant to put in the

property.

       On or around 26 June 2013, Plaintiff-Landlord purchased the property and

sent a letter to Defendant-Tenant notifying him that Plaintiff-Landlord was the new

owner and property manager. The letter also directed Defendant-Tenant to call




       1While the word “detector” appears throughout the record on appeal, this Court uses “alarm”
synonymously, in order to reflect amendments by the N.C. General Assembly to this same effect. See
2012 N.C. Sess. Laws 350, 350-52, ch. 92, § 1-4 (replacing the word “detector” with “alarm”
throughout provisions of the Residential Rental Agreements Act).

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                                   Opinion of the Court



Plaintiff-Landlord to set up an inspection of the property and to put any requests for

repairs in writing.

        On or around 24 September 2013, Mr. Stikeleather went by the house to do an

inspection, but it had to be “quick” because of the presence of an unauthorized pet on

the premises. During this inspection, Mr. Stikeleather testified that he observed an

alarm in the living room, plugged into an electrical outlet in the wall, but he admitted

he did not verify whether it was working properly.

        Near the middle of March 2014, Defendant-Tenant called Mr. Stikeleather and

told him he would be late with March’s rent; Mr. Stikeleather responded that he

would file eviction papers, which he did on 19 March 2014. Two days after the parties

appeared in small claims court near the end of March 2014, Plaintiff-Landlord sent

his repairman to install a smoke alarm and carbon monoxide alarm in the premises.

Defendant-Tenant felt it was unfair to be evicted for being only a few days late on

rent, so he went to City Code Enforcement, which issued an inspection report that

does not mention any issue with the property’s smoke alarm and carbon monoxide

alarm. Defendant-Tenant did not pay rent for the months of March, April, or May

2014.

        The day after the bench trial, on 1 July 2014, the trial judge entered a

judgment containing the following pertinent findings of fact, whose order has been

reorganized by this Court in an effort to improve clarity:



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                    Opinion of the Court



3. [Defendant-Tenant] lived at 2600 Catalina, Charlotte,
NC (“the property”), for four years and three months.

....

43. [Defendant-Tenant’s] son, Ronald Broadway (RB),
lived with his father at the property.

....

4. At the time [Defendant-Tenant] took possession of the
property in 2010 it was owned and managed by a different
landlord than the Plaintiff in this action.

....

65. [Mr.] Stikeleather is the managing partner of the LLC
that is [Plaintiff-Landlord].

....

76. [Plaintiff-Landlord’s] LLC owns approximately 200
properties and manages another 300 properties.

....

55. Mike Kluth is a real estate broker in Charlotte and he
sold the property to [Plaintiff-Landlord].

56. Prior to selling the house, Mr. Kluth visited the
property in June 2013 to obtain general information to list
the house.

....

58. During a second pre-sale inspection of the property in
June 2013, [Defendant-Tenant] told Mr. Kluth and [Mr.
Stikeleather] about the flooding in the basement. The
basement was dry when Mr. Kluth and [Mr. Stikeleather]
saw it.



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                    Opinion of the Court



59. During the second inspection [Mr. Stikeleather] asked
[Defendant-Tenant] about a Smoke/Carbon detector.
[Defendant-Tenant] said there was not one present in the
property.

60. Mr. Kluth then went to his car and got a Smoke/Carbon
detector to place in the house.

61. Mr. Kluth does not know whether the detector, which
was not new, was operational. The detector could be
plugged into the wall and could also be run on batteries.

62.    [Defendant-Tenant] testified that the detector
provided by Mr. Kluth did not work.

....

38. In June 2013, [Plaintiff-Landlord] notified [Defendant-
Tenant] in writing that the property had been sold and that
[Plaintiff-Landlord] was the new owner and property
manager. Plaintiff[-Landlord] admitted Plaintiff’s Exhibit
2, a letter dated June 26, 2013, detailing the change in
ownership.

39. In addition to telling [Defendant-Tenant] about the
new management company, Plaintiff[-Landlord’s] Exhibit
2 also directed [Defendant-Tenant] to put any requests for
repair in writing and asked [Defendant-Tenant] to call
[Plaintiff-Landlord] to set up an inspection.

....

66.  The only potential repair issue that [Plaintiff-
Landlord] was aware of at the time of the purchase was the
basement and the flooding.

....

2. The parties have also stipulated to the existence of a
lease        between        [Defendant-Tenant]       and
Plaintiff[-]Landlord. . . .


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                     Opinion of the Court




....

21. The lease contains a page signed by [Defendant-
Tenant] stating that the property had a “Carbon/Smoke
Detector” in the unit and that it was in good working
condition when [Defendant-Tenant] took possession in
2010.

....

29. Paragraph 17 of the lease states that [Defendant-
Tenant] shall make a request for repair in writing.

....

70. After taking ownership of the property, [Mr.
Stikeleather] went by the house in the fall of 2013 to do a
quick inspection. It was a quick inspection due to the
presence of [Defendant-Tenant’s] dog.

71. [Mr. Stikeleather] testified that the dog was not
permitted at the property[.]

72. [Mr. Stikeleather] did observe a detector that was
plugged in during [the] fall 2013 inspection but did not
verify whether it was working properly.

....

32. [Defendant-Tenant] called [Mr. Stikeleather] to tell
him that he would be late with the March [2014] rent and
[Mr. Stikeleather] said that he would file eviction papers.

....

75. [Plaintiff-Landlord] sent his repairman to install a
detector after the first hearing in small claims court in late
March 2014.

....


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                     Opinion of the Court




22. [Defendant-Tenant] and [Defendant-Tenant’s] son[,
RB,] were present when a new detector was installed by
[Plaintiff-Landlord’s] employee in 2014.

....

47. RB testified that the property did not have a
Smoke/Carbon detector upon initial[] occupancy. There
[was] a blank spot where it appeared one had previously
been with a painted[-]over bracket.

48. RB was present when [Plaintiff-Landlord’s] staff came
out and installed a Smoke/Carbon detector, a few days
after the first court appearance in 2014. RB watched the
installation and [Plaintiff-Landlord’s] staff did not remove
an old detector prior to installing a new one.

....

33. [Defendant-Tenant] did not think it was fair to be
evicted for being seventeen days late on the rent so he went
to City Code Enforcement.

....

40. The city inspected the property and issued a list of code
violations.     Plaintiff[-Landlord] admitted the Code
Enforcement report as Plaintiff’s Exhibit 3.

41. The Code Enforcement report does not list the
carbon/smoke detector.

....

68. [Mr. Stikeleather] told [Defendant-Tenant] several
times to put repair requests in writing, as required by the
lease.

69. [Mr. Stikeleather] testified that he never received any
written or verbal repair requests from [Defendant-Tenant].


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            STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                 Opinion of the Court




            ....

            78. [Mr. Stikeleather] testified that he has made numerous
            requests for access and for a key to the Property, including
            by certified mail, so that he could do an inspection and
            make repairs to the property. [Defendant-Tenant] never
            responded to those requests.

            79. [Defendant-Tenant] did not introduce any portion of
            the Charlotte City Housing Code.

            ....

            1. [Defendant-Tenant] did not pay rent for March, April or
            May 2014, and that the monthly rent was $500.

      Based upon these findings, the trial judge concluded the following as a matter

of law:

            2. [Defendant-Tenant] has failed that [sic] show that
            [Plaintiff-Landlord] breached the implied warranty of
            habitability for the issues related to the flooded basement,
            broken step, inoperable and broken windows and faulty
            electrical system because [Defendant-Tenant] failed to
            provide proper written notice of these issues and also failed
            to provide reasonable access to [Plaintiff-Landlord] to
            permit an inspection to determine if there were any
            structural or electrical issues;

            3. Where [Plaintiff-Landlord] knew on or about June 26,
            2013, that the property did not have a smoke alarm or
            carbon monoxide detector and did not verify that the
            previously used device provided on or about that date by
            Mr. Kluth was operable, [Plaintiff-Landlord] violated the
            Residential Rental Agreement[s] Act which requires
            provision of an operable smoke alarm and carbon monoxide
            detector. [Defendant-Tenant] is therefore entitled to rent
            abatement;



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      STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                           Opinion of the Court



      ....

      6. [Defendant-Tenant] is entitled to rent abatement of $150
      per month;

      7. [Plaintiff-Landlord’s] continued collection of rent
      without verifying that [Defendant-Tenant] had been
      provided an operable smoke alarm and carbon monoxide
      detector constituted an Unfair and Deceptive Trade
      Practice;

      8. Because [Plaintiff-Landlord] has committed an Unfair
      and Deceptive Trade Practice, [Defendant-Tenant’s]
      damages shall be trebled;

      9. [Defendant-Tenant’s] damages shall be offset by an
      abatement credit of $350 for March 2014 where
      [Defendant-]Tenant did not pay rent but before the new
      detector was installed and $500 per month for April and
      May 2014 where [Defendant-]Tenant did not pay rent but
      after the new detector was installed for a total abatement
      credit of $1350.

Based upon the foregoing, the trial judge entered the following judgment:

      1. Defendant[-]Tenant’s claim for rent abatement and
      Unfair and Deceptive Trade Practices is granted;

      2. Defendant[-]Tenant is awarded damages in the amount
      of $2250 ($1200 in rent abatement, trebled to $3600
      pursuant to Chapter 75 minus tenant’s abatement credit of
      $1350);

      3. Defendant-[Tenant] is entitled to reasonable attorney
      fees, pursuant to Chapter 75. [Defendant-Tenant] shall
      submit an affidavit for attorney fees and [Plaintiff-
      Landlord] shall have an opportunity to respond;

      4. All other counterclaims filed by [Defendant-Tenant] are
      denied.



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             STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                    Opinion of the Court



      Plaintiff-Landlord appeals.

                                      II. Analysis

      Plaintiff-Landlord contends the trial court erred by (1) granting Defendant-

Tenant’s counterclaim for rent abatement under the Residential Rental Agreements

Act (“RRAA”), (2) improperly calculating the damage award under the RRAA, (3)

concluding the alleged RRAA violation constituted a breach of North Carolina’s

Unfair and Deceptive Trade Practices Act (“UDTP”), and (4) awarding Defendant-

Tenant reasonable attorney’s fees under UDTP. Because we agree the trial court

erred in concluding Plaintiff-Landlord violated the RRAA, the damages awarded for

rent abatement, which were trebled under UDTP, as well as the attorney’s fees

awarded under UDTP, must necessarily be reversed.

A. Standard of Review

      “The standard of review on appeal from a judgment entered after a non-jury

trial is whether there is competent evidence to support the trial court’s findings of

fact and whether the findings support the conclusions of law and ensuing judgment.”

Cartin v. Harrison, 151 N.C. App. 697, 699, 567 S.E.2d 174, 176 (2002) (internal

quotation marks and citation omitted). “In all actions tried without a jury, the trial

court is required to make specific findings of fact, state separately its conclusions of

law, and then direct judgment in accordance therewith.” Cardwell v. Henry, 145 N.C.

App. 194, 195, 549 S.E.2d 587, 588 (2001) (internal quotation marks and citations



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             STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                   Opinion of the Court



omitted). The trial court’s findings of fact must include “specific ultimate facts . . .

sufficient for the appellate court to determine that the judgment is adequately

supported by competent evidence.” Montgomery v. Montgomery, 32 N.C. App. 154,

156-57, 231 S.E.2d 26, 28 (1977). Put another way, the trial court must make “specific

findings of the ultimate facts established by the evidence, admissions and

stipulations which are determinative of the questions involved in the action and

essential to support the conclusions of law reached.” Quick v. Quick, 305 N.C. 446,

452, 290 S.E.2d 653, 658 (1982). “Ultimate facts are the final resulting effect reached

by processes of logical reasoning from the evidentiary facts.” In re Anderson, 151 N.C.

App. 94, 97, 564 S.E.2d 599, 602 (2002) (citation omitted).          The trial court’s

conclusions of law are reviewed de novo, wherein this Court “considers the matter

anew and freely substitutes its own judgment for that of the lower tribunal.” State v.

Williams, 362 N.C. 628, 632-33, 669 S.E.2d 290, 294 (2008) (internal quotation marks

and citations omitted).

B. Violation of the RRAA

      Plaintiff-Landlord first contends the trial court erred in granting Defendant-

Tenant’s claim for rent abatement in violation of the RRAA. We agree.

      Specifically, Plaintiff-Landlord challenges the trial court’s conclusion of law

No. 3, which states:

             3. Where [Plaintiff-Landlord] knew on or about June 26,
             2013, that the property did not have a smoke alarm or
             carbon monoxide detector and did not verify that the

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             STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                  Opinion of the Court



             previously used device provided on or about that date by
             Mr. Kluth was operable, [Plaintiff-Landlord] violated the
             Residential Rental Agreement[s] Act which requires
             provision of an operable smoke alarm and carbon monoxide
             detector. [Defendant-Tenant] is therefore entitled to rent
             abatement[.]

      This singly-enumerated conclusion actually contains two legal conclusions:

first, that Plaintiff-Landlord violated the RRAA; second, that Defendant-Tenant is

entitled to rent abatement. We therefore discuss each conclusion separately.

      Pursuant to the RRAA, codified at N.C. Gen. Stat. §§ 42-38 to -49 (2013), “a

landlord impliedly warrants to the tenant that rented or leased residential premises

are fit for human habitation. The implied warranty of habitability is co-extensive

with the provisions of the Act.” Miller v. C.W. Myers Trading Post, Inc., 85 N.C. App.

362, 366, 355 S.E.2d 189, 192 (1987) (citation omitted). The RRAA requires landlords

to provide fit premises and imposes upon them the following duties:

             (a) The landlord shall:

             (1) Comply with the current applicable building and
             housing codes[] . . . to the extent required by the operation
             of such codes[.]

             (2) Make all repairs and do whatever is necessary to put
             and keep the premises in a fit and habitable condition.

             (3) Keep all common areas of the premises in safe condition.

             (4) Maintain in good and safe working order and promptly
             repair all electrical, plumbing, sanitary, heating,
             ventilating, air conditioning, and other facilities and
             appliances supplied or required to be supplied by the
             landlord provided that notification of needed repairs is

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              STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                   Opinion of the Court



              made to the landlord in writing by the tenant, except in
              emergency situations.

N.C. Gen. Stat. § 42-42(a)(1)-(4) (2013). It is well established that the RRAA provides

an affirmative cause of action to a tenant for recovery of rent due to a landlord’s

breach of the implied warranty of habitability. See, e.g., Cotton v. Stanley, 86 N.C.

App. 534, 537, 358 S.E.2d 692, 694 (1987) (“Tenants may bring an action for breach

of the implied warranty of habitability, seeking rent abatement, based on their

landlord’s noncompliance with [N.C. Gen. Stat.] § 42-42(a)” (citation omitted)); see

also Allen v. Simmons, 99 N.C. App. 636, 644, 394 S.E.2d 478, 482 (1990) (“Tenants

may bring an action seeking damages for breach of the implied warranty of

habitability and may also seek rent abatement for their landlord’s breach of the

statute.”).

       The purpose of the restitutionary remedy of rent abatement is to compensate

tenants for defective conditions of a premises which render it unfit for human

habitation. See Miller, 85 N.C. App. at 368, 355 S.E.2d at 193 (noting that rent

abatement is “in the nature of a restitutionary remedy[]”). This Court has held:

              [A] tenant may recover damages in the form of a rent
              abatement calculated as the difference between the fair
              rental value of the premises if as warranted (i.e., in full
              compliance with [N.C. Gen. Stat. §] 42-42(a)) and the fair
              rental value of the premises in their unfit condition for any
              period of the tenant’s occupancy during which the finder of
              fact determines the premises were uninhabitable, plus any
              special or consequential damages alleged and proved.



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             STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                  Opinion of the Court



Id. at 371, 355 S.E.2d at 194 (citations omitted). However, N.C. Gen. Stat. § 42-42(a)

also imposes duties upon landlords which are not necessarily related to a premises’

fitness for human habitation. Pertinent to the instant case, the RRAA requires

landlords:

             (5) Provide operable smoke alarms[] . . . and install the
             smoke alarms in accordance with either the standards of
             the National Fire Protection Association or the minimum
             protection designated in the manufacturer’s instructions,
             which the landlord shall retain or provide as proof of
             compliance. The landlord shall replace or repair the smoke
             alarms within 15 days of receipt of notification if the
             landlord is notified of needed replacement or repairs in
             writing by the tenant. The landlord shall ensure that a
             smoke alarm is operable and in good repair at the
             beginning of each tenancy. . . .

             ....

             (7) Provide a minimum of one operable carbon monoxide
             alarm per rental unit per level[] . . . and install the carbon
             monoxide alarms in accordance with either the standards
             of the National Fire Protection Association or the minimum
             protection designated in the manufacturer’s instructions,
             which the landlord shall retain or provide as proof of
             compliance. A landlord that installs one carbon monoxide
             alarm per rental unit per level shall be deemed to be in
             compliance with standards under this subdivision covering
             the location and number of alarms. The landlord shall
             replace or repair the carbon monoxide alarms within 15
             days of receipt of notification if the landlord is notified of
             needed replacement or repairs in writing by the tenant.
             The landlord shall ensure that a carbon monoxide alarm is
             operable and in good repair at the beginning of each
             tenancy. . . .

N.C. Gen. Stat. § 42-42(a)(5), (7) (2013) (emphasis added). Breaches of provisions of



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             STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                   Opinion of the Court



the RRAA such as these, while technically included within the implied warranty of

habitability, are not necessarily best remedied by retroactive rent abatement,

particularly without proof that a tenant has suffered actual damage. We conclude

that a landlord’s violation of N.C. Gen. Stat. § 42-42(a)(5) or (7), without more, cannot

sustain an action for rent abatement.

      In the instant case, in reviewing the trial court’s decision de novo, we hold its

findings of fact do not support its conclusions that Plaintiff-Landlord breached the

RRAA nor that Defendant-Tenant is entitled to rent abatement.             Therefore we

reverse.

      First, as to the alleged breach of the implied warranty of habitability, it is true

the RRAA imposed upon Plaintiff-Landlord a duty to verify the property had an

operable smoke alarm and carbon monoxide alarm once it became the new property

owner and manager on 26 June 2013. However, the trial court never made any

specific findings of the ultimate facts essential to conclude that Plaintiff-Landlord

violated the RRAA. For instance, the trial court failed to make any findings as to the

current applicable building and housing codes and which, if any, of the codes were

violated. Nor did the trial court make any findings as to how verifying the operability

of an alarm would put or keep the premises in a fit and habitable condition, or how

doing so would keep the safety of the premises. Not only did the trial court fail to

make findings of whether Plaintiff-Landlord knew or had reason to know the alarm

provided by Mr. Kluth was not new or in good or safe working order, but also it made

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                                  Opinion of the Court



no findings as to how failing to verify the operability of an alarm rendered the

premises unfit for human habitation, or how this unfitness devalued the fair rental

value of the property such that Defendant-Tenant should be entitled to rent

abatement.

      Second, as to the award of rent abatement, the trial court did not articulate its

rationale with any specificity in declaring how Plaintiff-Landlord’s alleged failure to

verify the property had an operable smoke alarm and carbon monoxide alarm—

without more—entitles Defendant-Tenant to a restitutionary remedy such as rent

abatement. The trial court made no finding that the premises was uninhabitable

during the period in which Defendant-Tenant paid rent. There was no finding that

the premises was unfit or of the value of the premises in its “uninhabitable” state.

Without a finding that the property was unfit for human habitation, or of the fair

rental value of the property in its unwarranted condition as required by our case law,

an award of rent abatement cannot be sustained.

      In summary, lacking these and other specific findings of the ultimate facts

essential to support its conclusions that Plaintiff-Landlord breached the RRAA or

that Defendant-Tenant is entitled to rent abatement, the trial court’s judgment is

unsupported by competent evidence. Furthermore, our independent review of the

record fails to disclose any evidence to support the trial court’s conclusions or its

ensuing judgment. Therefore it must be reversed.



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            STIKELEATHER REALTY AND INVESTMENTS CO. V. BROADWAY

                                 Opinion of the Court



      Because we conclude that Plaintiff-Landlord never breached the RRAA,

Defendant-Tenant’s claims for rent abatement and UDTP, as well as the award of

trebled damages and attorney’s fees pursuant to UDTP, necessarily fail.

                                 III. Conclusion

      Based upon the foregoing and our review of the record, we reverse the trial

court’s judgment.

      REVERSED.

      Judges STEPHENS and TYSON concur.




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